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    FILED
                                                                        1:21-cr-00666
                                                                        Judge Jorge L. Alonso
                            JJ
      10/28/2021
                                                                        Magistrate Judge Jeffrey Cole

              . BRUTO    N      UNITED STATES DISTRICT COURT
   THOMA.SDGIS T R IC T COURT
CLERK, U .S                     NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIYISION

      UNITED STATES OF AMERICA
                                                      No.
             v.
                                  l                   Violations: Title 18, United States
      HASSAN ABDELI"ATIF, aka "Eric,"                 Code, Section L343; Title 26, United
      IIAMDAN IIAMDAN, aka "Tony,"                    States Code, Section 7203;Title 42,
      E}IAB KHRA.IWISH,                               United States Code, Section 1760(9)
      WALEED KHRAWISH, aka "Wally,"
      AI,AA HAMDAN,                                   Under Seal
      ERSELY ARITA.MEJIA,
      FORTINO HERNANDEZ,
      JEHAD KHRAWISH, and
      MARISOL ZAVAI,A

                                          COUNT ONE

            The SPECIAL JANUARY 2020 GRAND JURY charges:

            1.     At times material to this Indictment:

                        The Women, Infants, and Children Program

                   a.     The Women, Infants, and Children ('WIC") Program was               a

    federally funded special supplemental food progxam sponsored by the United States

    Department of Agriculture ("USDA"), managed by the Food and Nutrition Services,

    an agency within the USDA, and administered in Illinois by the Illinois Department

    of Human Services ("IDHS"). The WIC program was designed to provide a more

    nutritious diet to moderate and low-income infants, children up to five years of age,

    and pregnant, breastfeeding, and post-partum women.

                  b.      In Illinois, WIC benefits were issued to eligible recipients in the

    form of WIC food instruments ("WIC checks"). WIC checks were issued in "not to
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exceed" dollar values and were valid only during the time period listed on the check.

Each check listed the recipient's name, unique identification number, and quantity

of the specifi.c food items (for example,   milk, cheese, egBS, cereal, and infant formula)

eligible for purchase from retail stores participating in the WIC program.

              c.     In Illinois, the IDHS authorized vendors to participate in the WIC

program. To participate     in the WIC program,        store vendors first completed an

application that requested certain information such as the entity name, ownership,

address, and other demographics relating to the store's qualification to become an

authorized WIC vendor. The WIC progxam application required prospective vendors

to certifiz that the store's WIC food sales would be 0-49% of food stamp-eligrble sales.

IDHS did not authorize a vendor who projected that its WIC food sales would be 50%-

I00% of its food-stamp eligible sales to operate in Illinois as a WIC vendor.

             d.     Before an applicant vendor was accepted to participate            in    the

WIC program, the vendor was required to pass an on-site         visit. In addition,   as   part

of the application process, IDHS conducted an initial vendor cost analysis of that

prospective vendor's WlC-etigible items. The purpose of the           initial vendor       cost

analysis was to ensure that the applicant vendor's prices of the WlC-eligible items

did not exceed 25% ofIDHS's estimated. food costs. As part of the analysis, IDHS

compared the cost of the eligible WIC food items from the applicant vendor to its own

list of estimated costs. If the applicant vendor's prices   exceeded the estimated costs

by 25%,IDHS denied the vendor's application.




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              e.    After an applicant vendor passed the initial vendor cost analysis,

the applicant vendor was required to attend the WIC Retail Vendor training that was

conducted by the Illinois Retail Merchants Association and Illinois Food Retailers.

Each training program discussed changes to the USDA WIC regulations and other

issues relating to the WIC vendor contract. A-fter successful completion of the WIC

vendor application process and training program, an applicant vendor was then

eligible for authorization for participation in the WIC program.

                   Authorized vendors signed contracts indicating that they would

comply with all the rules and regulations of the WIC program. Authorized vendors in

the WIC program were permitted to accept and redeem WIC checks only in connection

with the sale of eligible WIC items. WIC vendors were not permitted to accept WIC

checks for ineligible items. WIC vendors were not permitted to exchange WIC checks

for cash. WIC vendors were also prohibited from accepting WIC checks before or after

the time period during which the WIC checks were marked valid. WIC vendors were

also not permitted to transfer WIC checks to or accept checks from other WIC

vendors.

             g.    A-fter IDHS authorized    a vendor to participate in the      WIC

program, IDHS issued the vendor a unique vendor number. That vendor number

served as a secondary endorsement on the WIC check.

             h.    Authorized WIC vendors deposited WIC checks at a local bank. A

WIC processor that was located in Minnesota and that IDHS contracted with

processed   the WIC checks for payment and reconciliation. The WIC         processor
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subsequently submitted a request       to the Federal    Reserve Bank ("PRB")   for the
distribution of funds for payment. The FRB then sent a wire transfer with the monies

to the WIC processor which, in turn, transferred or caused the transfer of monies to

the WIC vendor's bank and thereafber into the WIC vendor's designated bank

account.

                               El Milagro Mini Market

             i.      El Milagro Mini Market was a grocery store located at 3003 West

Montrose Avenue, Chicago, Illinois.      In or around      September 2010,   the IDHS
authorized El Milagro Mini Market to participate in the WIC program, and to accept

WIC checks as authorized by that program.

            j.       Defendant IIASSAN ABDELLATIF, also known as "Eric," was

the president and owner of El Milagro Mini Market.

            k.       In or around June 2010, defendant IIASSAN ABDELLATIF, on

behalf of El Milagro Mini Market, signed and submitted to the IDHS a WIC program

application in which he represented and caused to be represented, among other

things, that El Milagro Mini Market's WIC food sales were estimated to be 0-49% of

the store's total   food, stamp-eligible food. saIes.   In or around September   2010,

defendant HASSAN ABDELLATIF, on behalf of El Milagro Mini Market, signed and

submitted to the IDHS a WIC retail vendor contract in which he certified, among

other things, that El Milagro Mini Market shall comply with the provisions of the

USDA WIC regulations.
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              l.    Beginning no later than June 2010 and continuing through at

least April 2013, defendant IIASSAN ABDELLATIF maintained business bank

accounts at Bank A, Bank B, Bank C, Bank D, Bank E, and Bank F. These bank

accounts received electronic transfers of reimbursements for WIC checks redeemed

at El Milagro Mini Market. HASSAN ABDELI"ATIF was the only authorized
signatory on these bank accounts.

             m. From approximately October 2010 through March 20\3,
defendant HASSAN ABDELLATIF redeemed approximately $2,075,828.66 in WIC

checks.

             n.     In or around March 2013, El Milagro Mini Market voluntarily
withdrew from the WIC program.

                                In and Out Grocery
             o.     In and Out Grocery was a grocery store located at 3929 West
Grand Avenue, Chicago, Illinois. In or around January 2013, the IDHS authorized    In
and Out Grocery to participate in the WIC program, and to accept WIC checks as

authorized by that program.

             p.    Individual A was the listed president and owner of In and Out

Grocery.

             q.    In or around June 2012, Individual A, on behalf of In and Out
Grocery, signed and submitted to the IDHS a WIC program application         in which
Individual A represented and caused to be represented, among other things, that In

and Out Grocery's WIC food sales were estimated to be 0-49% of the store's total food
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stamp-eligble food sales. In or around January 20lS,Individual A, on behalf of In

and Out Grocery, signed and submitted to the IDHS a WIC retail vendor contract in

which Individual A certified, among other things, that In and Out Grocery shall

comply with the provisions of the USDA WIC regulations.

             r.    In or around April 2074, defendant HAMDAN HAMDAN,             also

known as "Tony," signed and submitted to the IDHS, on behalf of In and Out Grocery,

a proof of attendance at a WIC program retail vendor training. In that proof of

attendance, defendant IIAMDAN HAMDAN certifi.ed that he had been taught and

understood, among other things, the responsibilities      of a WIC vendor,       WIC

authorized foods, the food instrument redemption process, WIC fraud and abuse and

sanctions, USDA WrC regulations, and the WIC vendor contract.

            s.     Beginning no later than August 2OL2 and continuing through at

least March 2}lS,Individual A, defendant IIASSAN ABDELI"ATIF, and Individual

B maintained business bank accounts at Bank B, Bank D, Bank F, Bank G, and Bank

H. These bank accounts received electronic transfers of reimbursements for WIC

checks redeemed    at In and Out Grocery. Individual A, defendant HASSAN
ABDELLATIF, and lndivid.ual B were the only authorized signatories on these bank

accounts.

            t.     From approximately February 2013 through March 2075,In and

Out Grocery redeemed approximately $2,L66,263.04 in WIC checks.

            u.     In or around March 2015, In and Out Grocery voluntarily
withdrew from the WIC program.



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                                 Harding Grocery

             v.      Harding Grocery was a grocery store located at 3929 West Grand

Avenue, Chicago, Illinois. In or around August 2015, the IDHS authorized Harding

Grocery to participate in the WIC program, and to accept WIC checks as authorized

by that program.

             w.      Defendant HASSAN ABDELI"ATIF was the president and owner

of Harding Grocery

             x.      In or around April 2015, defendant IIASSAN ABDELLATIF, on

behalf of Harding Grocery, signed and submitted to the IDHS a WIC program

application in which he represented and caused to be represented, among other

things, that Harding Grocery's WIC food sales were estimated to be 0-49% of the

store's total food stamp-eligible food sales.   In or around August 2015, defendant
IIASSAN ABDELLATIF, on behalf of Harding Grocery, signed and submitted to the

IDHS a WIC retail vendor contract in which he certified, among other things, that

Harding Grocery shall comply with the provisions of the USDA WIC regulations.

             y.      Beginning no later than July 20L5 and continuing through at

least October 20L6, defendant IIASSAN ABDELIATIF maintained business bank

accounts at Bank F, Bank    I, and Bank J. These bank    accounts received electronic

transfers of reimbursements for WIC checks redeemed at Harding Grocery.

Defendant HASSANABDELLATIF was the only authorized signatory on these bank

accounts.
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              z.    From approximately August 2Ol5 through October               2016,

defendant IIASSAN ABDELLATIF redeemed approximately $1,838,969.26 in WIC

checks.

               aa. In or around October         2016, Harding Grocery voluntarily

withdrew from the WIC program.

                           Three Cousins Supermarket

             bb.    Three Cousins Supermarket was a grocery store located at 3743

West Grand Avenue, Chicago, Illinois.       In or around October     2014, the IDHS

authorized Three Cousins Supermarket to participate in the WIC program, and to

accept WfC checks as authorized by that program.

             cc.    Individual B was the listed president and owner of Three Cousins

Supermarket.

             dd. In or around March 2014, Individual B, on behalf of Three
Cousins Supermarket, signed and submitted to the IDHS a WIC program application

in which Individual B represented and caused to be represented, among other things,

that Three Cousins Supermarket's WIC food sales were estimated to be 0-49% of the

store's total food stamp-eligible food sales. In or around October 2014, Individual B,

on behalf of Three Cousins Supermarket, signed and submitted to the IDHS a WIC

retail vendor contract in which Individual B certified, among other things, that Three

Cousins Supermarket shall comply with the provisions of the USDA WIC regulations.

             ee.   Beginning no later than April 2013, and continuing through at

least July 2015, Individual B and defendant HASSAN ABDELI"ATIF maintained
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business bank accounts        at Bank B, Bank D, and Bank F. These bank        accounts

received electronic transfers of reimbursements for WIC checks redeemed at Three

Cousins Supermarket. Individual B and defendant IIASSANABDELLATIF were the

only authorized signatories on these bank accounts.

                 tr.   From approximately December 2014 through July 2015, Three

Cousins Supermarket redeemed approximately $950,041.18 in WIC checks.

                 gg.   In or around July 2015, Three Cousins Supermarket voluntarily

withdrew from the WIC program.

                                La   Villita Food Market
                 hh.   La Villita Food Market was a grocery store located at 206t South

Kedzie Avenue, Chicago, Illinois.     In or around May 2015, the IDHS authorized La

ViIIita   Food Market to participate in the WIC program, and to accept WIC checks as

authorized by that program.

                 ii.   Defendant IIAMDAN IIAMDAN was the president and owner of

La   Villita   Food Market.

                 jj.   In or around February 2075, defendant IIAMDAN IIAMDAN, on

behalf of La Villita Food Market, signed and submitted to the IDHS a WIC program

application in which he represented and caused to be represented, among other

things, that La Villita's WIC food sales were estimated to be 0-49% of the store's total

food stamp-eligible food sales.      In or   around May 2015, defendant IIAMDAN

HAMDAN, on behalf of La Villita Food Market, signed and submitted to the IDHS a

WIC retail vendor contract in which defendant HAMDAN HAMDAN certified, among




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other things, that La Villita Food Market shall comply with the provisions of the

USDA WIC regulations.

              kk.   From approximately June 20L5 through October 2016, La Villita

Food Market redeemed approximately $L,299,231.19     in WIC checks.

              1I. In or around October 2016, La Villita Food Market voluntarily
withdrew from the WIC program.

                            Supermercado El Grande

              mm.   Supermercado El Grande was a grocery store located at 77 E,ast

Fullerton, Addison, Illinois.   In or   around JuIy 2OI4, the IDHS authorized

Supermercado    El Grande to participate in the WIC program, and to accept WIC
checks as authorized by that program.

             nn.    Individual C was the listed president and owner of Supermercado

El Grande.

             oo. In or around March 20L4, Individual C, on behalf of
Supermercad.o   EI Grande, signed and submitted to the IDHS a WIC         program

application in which Individual C represented and caused to be represented, among

other things, that Supermercado El Grande's WIC food sales were estimated to be 0-

49% of   the store's total food stamp-eligible food sales. In or around J:uly   2014,

Individual C, on behalf of Supermercado El Grande, signed and submitted to the

IDHS a WIC retail vendor contract in which Individual C certified, among other

things, that Supermercado El Grande shall comply with the provisions of the USDA

WIC regulations.




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               pp.   From approximately JuLy 2}l4through July 2018, Supermercado

EI Grande redeemed approximately $3,530,541.83 in WIC checks.

                                       Store A

               qq.   Store A was a grocery store located   in Harvard, Illinois. In   or

around March 2017, the IDHS authorized Store A to participate in the WIC program,

and to accept WIC checks as authorized by that program.

               rr.   Co-Schemer A was the president and owner of Store A.

               ss.   In or around December 2016, Co-Schemer A, on behalf of Store A,

signed and submitted to the IDHS        a WIC program application in which            he

represented and caused to be represented, among other things, that Store A s WIC

food sales were estimated to be 0-49% of the store's total food stamp-eligible food

sales.   In or around March 2017, Co-Schemer A, on behalf of Store A, signed and
submitted to the IDHS a WIC retail vendor contract in which Co-Schemer A certified,

among other things, that Store A shall comply with the provisions of the USDA WIC

regulations.

               tt.   Beginning no later than February 20L4 and continuing through

at least August 2018, Co-Schemer A maintained. business bank accounts at Bank B

and Bank K. These bank accounts received electronic transfers of reimbursements

for WIC checks redeemed at Store A. Co-SchemerAwas the only authorized signatory

on these bank accounts.

               uu.   From approximately March 2017 through August 2018,           Co-

Schemer A redeemed approximately $2,2L3,834.16 in WIC checks.




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                                    El Charro Food
             vv. El Charro Food was a grocery store located at 158 North 19th
Avenue, Melrose Park, Illinois. In or around October 20L5, the IDHS authorized EI

Charro Food to participate in the WIC program, and to accept WIC checks           as

authorized by that program.

             ww.    Individual D was the listed president and owner of El Charro

Food.

             xx. In or around June 2015, Individual D, on behalf of El Charro
Food, signed and submitted        to the IDHS a WIC program application in which
Individual D represented and caused to be represented, among other things, that El

Charro Food's WIC food sales were estimated to be 0-49% of the store's total food

stamp-eligible food sa1es. In or around October 2015,Individua1 D, on behalf of EI

Charro Food, signed and submitted to the IDHS a WIC retail vendor contract in which

Individual D certified, among other things, that El Charro Food shall comply with

the provisions of the USDA WIC regulations.

             yy.   From approximately October 2015 through August 20t8, EI

Charro Food redeemed approximately $1,341,800.72in WIC checks.

                                   Star Mini Market

             zz.   Star Mini Market was a grocery store located at 1580 South Busse

Road, Mount Prospect, Illinois.   In or around March 2016, the IDHS authorized Star

Mini Market to participate in the WIC program, and to accept WIC checks           as

authorized by that program.




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             aaa. Individual        E was the listed owner of Star Mini Market.

            bbb. In or around         December      z}ll.Individual   E, on behalf of Star   Mini

Market, signed and submitted and caused to be signed and submitted to the IDHS a

WIC program application in which Individual E represented and caused to                        be

represented, among other things,         that Star Mini Market's WIC food sales were
estimated to be   O-49o/o   of the store's total food stamp-eligrble food sales. In or around

March z}Ll,Individual E, on behalf of Star Mini Market, signed and submitted and

caused to be signed and submitted to the IDHS a WIC retail vendor contract in which

Individual E certified, among other things, that Star Mini Market shall comply with

the provisions of the USDA WIC regulations.

            ccc. From approximately            March 20LG through July 2018, Star Mini

Market redeemed approximately $3,176,713.66 in WIC checks.

                                    Mercado La Estrella

            ddd.     Mercad.o La Estrella was a grocery store located          at   419 Dundee

Avenue, E1gin, Illinois. In or around June 2016, the IDHS authorized Mercado La

Estrella to participate in the WIC program, and to accept WIC checks as authorized

by that progxam.

            eee.     Defendant EHAB KHRAIWISH was the president and owner of

Mercado La Estre1la.

            fft. In or around March 2016, defendant               EHAB KHRAIWISH, on

behalf of Mercado La Estrella, signed and submitted to the IDHS a WIC program

application in which he represented and caused to be represonted, among other



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things, that Mercado La Estrella's WIC food sales were estimated to be 0-49% of the

store's total food stamp-eligible food sales. In or around June 2076, defendant EHAB

KHRAIWISH, on behalf of Mercado La Estrella, signed and submitted to the IDHS a

WIC retail vendor contract in which defendant EIIAB KHRAIWISH certified, among

other things, that Mercado La Estrella shall comply with the provisions of the USDA

WIC regulations.

             ggg. In or around May 20LG and May 20L7, defendant EHAB
KHRAIWISH signed and submitted to the IDHS for Mercado La Estrella a proof of

attendance at a WIC program retail vendor training.    In that proof of attendance,
defendant EIIAB KHRA.IWISH certified that he had been taught and understood,

among other things, the responsibilities of a WIC vendor, WIC authorized foods, the

food instrument redemption process, WIC fraud and abuse and sanctions, USDA WIC

regulations, and the WIC vendor contract.

             hhh.   From approximately June 2016 through August 20L8, defendant

EHAB KHRAIWISH redeemed approximately $1,118,811.92 in WIC checks.

      2.     Beginning no later than in or around October 2010, and continuing until

in or around March 2019, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere,

                       HASSAN ABDELLATIF, aka "Eric,"
                        HAMDAN HAMDAN, aka "Tony,"
                               EIIAB KHRAIWISH,
                       WALEED KHRAWISH, aka "Wally,"
                              AI,AA IIAMDAN,
                           ERSELY ARITA-MEJIA,
                          FORTINO HERNANDEZ,
                          JEIIAD KHRAWISH, and


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                                 MARISOL ZAV,AT,A,

defendants herein, together with others known and unknown to the Grand Jury,

including Co-Schemer A, knowingly devised, intended to devise, and participated in

a scheme to defraud and to obtain money from the IDHS and USDA by means of

materially false and fraudulent pretenses, representations, and promises, which

scheme is   further described beIow.

      3.      It was part of the scheme that beginning in or around October 2010, and

continuing until   in or around March    2OLg, defendants   IIASSAN ABDELLATIF,

HAMDAN IIAMDAN, E}IAB KHRAIWISH, WALEED KHRAWISH,                              AT,AA

IIAMDAN, ERSELY ARITA.MEJIA, FORTINO HERNANDEZ, JEIIAD
KHRAWISH, and MARISOL ZAYALA fraudulently redeemed and caused to be

redeemed WIC checks in violation of WIC program regulations.

      4.      It was further part of the       scheme   that   defendants IIASSAN

ABDELLATIF, HAMDAN IIAMDAN, EHAB KHRAIWISH, WALEED KHRA.WISH,

AIAA IIAMDAN, ERSELY ARITA-MEJIA, FORTINO HERNANDEZ, JEHAD
KHRAWISH, and MARISOL ZAYAIA controlled, operated, and/or worked at

convenience stores   in the Northern District of Illinois that were authorized WIC
Vendors, including EI Milagro Mini Market,    In and Out Grocery, Harding   Grocery,

Three Cousins Supermarket, La Villita Food Market, Supermercado El Grande, El

Charro Food, Star Mini Market, and Mercado La Estrella ("the stores").

      5.      It was further part of the      scheme    that defendants IIASSAN
ABDELI"ATIF, }IAMDAN }IAMDAN, EIIAB KHRAIWISH, WALEED KHRAWISH,



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ALAA HAMDAN, ERSELY ARITA-MEJIA, FORTINO HERNANDEZ, JEHAD

KHRA,WISH, and MARISOL ZAYALA fraudulently redeemed and caused                   to   be

redeemed WIC checks at the stores by knowingly allowing customers to provide WIC

checks as payment    in connection with the sale of ineligible WIC items, often at
inflated prices.

          6.   It was further part of the       scheme    that   defendants IIASSAN

ABDELLATIF, HAMDAN HAMDAN, E}IAB KHRAIWISH, WALEED KHRA.WISH,

AT,AA IIAMDAN, ERSELY ARITA-MEJIA, FORTINO HERNANDEZ, JE}IAD

KHRAWISH, and MARISOL ZAVAJ'A fraudulently redeemed and caused to be

redeemed WIC checks at the stores by knowingly allowing customers to exchange

WIC checks as payment for items before and afber the time period during which the

WIC checks were marked va1id.

          7.   It was further part of the scheme that defendants IIASSAN
ABDELLATIF, IIAMDAI{ IIAMDAN, EHAB KHRAIWISH, and WALEED
KHRAWISH deposited and caused the deposit of WIC checks fraudulently redeemed

at one store into a bank account associated with another store and. that store's owner

in order conceal the volume of sales being    conducted   with WIC checks at certain
stores.

          8.   It was further part of the      scheme     that   defendants I{ASSA!.I

ABDELLATIF, IIAMDAN HAMDAN, and WALEED KHRAWISH withdrew and

caused to be withdrawn a store's participation in the WIC program to evade detection

from IDHS regarding their stores' foaudulent WIC redemptions.




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       9.    It was further part   of the scheme   that, afber havingwithdrawn or caused

to be withdraw4 a store's participation in the WIC program, defend.ants HASSAN

ABDELLATIF, HAMDAN IIAMDAN, and WALEED KHRAWISH used and caused

to be used, and attempted. to use and cause to be used, a third-party nominee to

assume nominal ownership of a store while          still maintaining financial   association

with, management of, and employment at the store, all to evade detection from IDHS.

       10.   It was further part of the scheme that, after having withdrawn       or caused

to be withdrawn a store's participation in the WIC program, defendants HASSAN

ABDELI"ATIF, IIAMDAN IIAMDAN, and WALEED KHRAWISH opened and caused

to be opened the store under the name of the third-party nominee in the same physical

location as the withdrawn store.

       11.   It was further part   of the scheme that, after havingwithdrawn or caused

to be withdrawn a store's participation in the WIC program, defendants IIASSAN

ABDELLATIF, IIAMDAN IIAMDAN, and WALEED KHRAWISH used and caused

to be used, and attempted to use and cause to be used, a third-party nominee to apply

for participation in the WIC program under the name of the third-party nominee

while still maintaining fi.nancial association with, management of, and employment

at the store, all to evade detection from IDHS.

      L2. It was further part of the scheme that defendants HASSAN
ABDELLATIF, HAMDAN HAMDAN, EHAB KHRAIWISH, and WALEED

KHRAWISH opened multiple bank accounts for each store controlled and operated

by them and spread among those accounts the deposits of WIC checks fraudulently




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redeemed     at their stores in order to   conceal   the amount of actual WIC    check

redemptions occurring at those stores.

       13. It was further part of the           scheme      that   defendants HASSAN

ABDELLATIF, EIAMDAN IIAMDAN, EIIAB KHRA.IWISH, WALEED KHRAWISH,

AI"AA HAMDAN, ERSELY ARITA-MEJIA, FORTINO HERNANDEZ, JEHAD
KHRAWISH, and MARISOL ZAVAJ,A misrepresented, concealed, and hid, and

caused to be misrepresented, concealed, and hidden, acts done in furtherance of the

scheme and the purpose of those acts.

       14.    On or about May 19, 2017, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                         IIASSAN ABDELIATIF, aka "Eric,"
                            and ERSELY ARITA.MEJIA,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication            in   interstate commerce certain

writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 38049304, 38049305, 38049306, and 38049307, in

the amounts of $24.67, $7.73, $10.52, and $8.00, respectively, from the Illinois
Department of Human Services to Star Mini Market, which data was processed by

servers located outside Illinois;

      In violation of Title 18, United States Code, Section L343.




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                                      COUNT TWO

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 ofCount One are incorporated here.

       2.    On or about January 4,2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                        WALEED KHRAWISH, aka "Wally,"
                           And JEHAD KHRAWISH,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication in interstate commerce, certain

writings, signs, and signals, namely data relating to the negotiation of a WIC check

numbered 43857972, in the amount of $6.69, from the Illinois Department of Human

Services to Store A, which data was processed by servers located outsid.e Illinois;

      In violation of Title 18, United States Code, Section 1343.




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                                  COUNT THREE

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs 1 through 13 of Count One are incorporated here.

       2.    On or about May 15, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                           IIAMDAN HAMDAN, aka "Tony,"
                                AIAA IIAMDAN, and
                              FORTINO HERNANDEZ,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication         in interstate commerce, certain
writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 46944592, 46944593, 46944594, and 46944595, in

the amounts of $16.70, $7.86, $10.13, and S7.96, respectively, from the Illinois
Department of Human Services       to    Supermercado   EI Grande, which data was
processed by servers located outside   lllinois;

      In violation of Title 18, United States Code, Section 7343.




                                           20
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                                     COUNT FOUR

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 of Count One are incorporated here.

      2.     On or about June 1, 2018, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                 EHAB KHRAIWISH and
                                  MARISOL ZAYAI,A,

defendants herein, for the purpose of executing the scheme, knowingly caused" to be

transmitted by means of wire communication           in   interstate commerce, certain

writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 45991698, 45991699, and 45991700, in the amounts

of $23.09, $17.52, and $12.03, respectively, from the Illinois Department of Human

Services to Store A, which data was processed by servers located outside Illinois;

      In violation of Title 18, United States Code, Section 1343.




                                           27
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                                      COUNT FIYE

       The SPECIAL JANUARY 2020 GRA.ND JURY further charges:

       1.    Paragraphs    1   through 13 of Count One are incorporated here.

      2.     On or about June 14, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                        WALEED KHRAWISH, aka "Wa11y,"
                           and JEHAD KHRAWISH,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in   interstate commerce, certain

writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 47594379 and 47594380, in the amounts of $25.19

and $17.35, respectively, from the Illinois Department of Human Services to Store A,

which data was processed by servers located outside Illinois;

      In violation of Title 18, United States Code, Section 1343.




                                           22
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                                       COUNT SD(

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 ofCount One are incorporated here.

       2.    On or about June 20, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                        IIASSAN ABDELLATIF, aka "Eric,"
                           and ERSELY ARITA-MEJIA,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication in interstate commerce, certai.n

writings, signs, and signals, namely data relating to the negotiation of the batch

deposit   of WIC   checks numbered 471L4848, 47L14849, 47114855, 471L4856,

47LL4857, and 47t14861,    in the amounts of $9.74, $8.00, $7.75, $11.18, $8.00, and

$8.00, respectively, from the Illinois Department of Human Services to Star Mini

Market, which data was processed by servers located outside Illinois;

      In violation of Title 18, United States Code, Section 1343.




                                           23
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                                     COUNT SEVEN

       The SPECIAL JANUARY 2020 GRA.ND JURY further charges:

       1.     Paragraphs   1   through 13 ofCount One are incorporated here.

       2.     On or about June 21, 20L8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 EIIAB KHRAIWISH     ANd
                                    MARISOL ZAYAI,A,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 45069801, 4506980       2, 45069803, and 45069804, in
the amounts of $20.71, $14.43, $13.11, and $8.00, respectively, from the Illinois

Department of Human Services to Mercad.o La Estrella, which data was processed by

servers located outside Illinois;

      In violation of Tit1e 18, United States Code, Section 1343.




                                           24
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                                     COUNT EIGHT

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 ofCount One are incorporated here.

       2.    On or about June 26, 20L8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                           HAMDAN IIAMDAN, aka "Tony,"
                              ALAA HAMDAN, and
                             FORTINO HERNANDEZ,

defendanis herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, signs, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 46944600, 4694460L, 46944602, and 46944603, in

the amounts of $24.2t, $7.86, $11.25, and $7.96, respectively, from the Illinois
Department of Human Services          to   Supermercado   EI Grande, which data was
processed by servers located outside   Illinois;

      In violation of Title 18, United States Code, Section 1343.




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                                      COUNT NINE

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 of Count One are incorporated here.

      2.     On or about July 8, 20L8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                 EIIAB KHRAIWISH and
                                   MARISOL ZAY,AI,A,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, sigts, and signals, namely data relating to the negotiation of the batch

deposit of WIC checks numbered 473050L2,47305013, and 47305015, in the amounts

of $24.21, $7.86, and $8.00, respectively, from the Illinois Department of Human

Services to Store A, which data was processed by servers located outside Illinois;

      In violation of Title 18, United States Code, Section L343.




                                           26
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                                       COUNT TEN

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    Paragraphs    1   through 13 ofCount One are incorporated here.

      2.     On or about J:uly 12, 20L8, ip the Northern District of Illinois, Eastern

Division, and elsewhere,

                        WALEED KHRAWISH, aka "Wally,l'
                           and JEIIAD KHRAWISH,

defendants herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in interstate commerce, certain
writings, signs, and signals, namely data relating to the negotiation of the batch

deposit   of WIC checks        47594371, 47594372, 47594373, 47594374, 47594383,

47594384, and 47594385,        in the amounts of $25.19, $14.50' $9.74, $8.00, $25.19,

$17.35, and $9.74, respectively, from the Illinois Department of Human Services to

Store A, which data was processed by servers located outside Illinois;

      In violation of Title 18, United States Code, Section 1343.




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                                    COUNT ELEVEN

         The SPECIAL JANUARY 2020 GRAND JURY further charges:

         On or about August 2, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                           IIASSAN ABDELLATIF, aka "Eric,"
                              and ERSELY ARITA-MEJIA,

defendants herein, received, concealed, and retained. funds, assets, and property of

the value of $100 or more, in the form of WIC checks, from the United States

Department of Agriculture, that were the subject of a grant and other form of

assistance under the Child Nutrition Act, to personal use and gain, knowing such

funds, assets, and property had been embezzled, willfully misapplied and obtained by

fraud;

         In violation of Title 42,Untted States Code, Section 1760(s).




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                                    COUNT TWELVE

         The SPECIAL JANUARY 2020 GRAND JURY further charges:

         On or about August 2, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                            HAMDAN HAMDAN, aka "Tony,"
                               ALAA HAMDAN, and
                              FORTINO HERNANDEZ,

defendants herein, received, concealed, and retained funds, assets, and property of

the value of $100 or more, in the form of WIC checks, from the United States

Department of Agriculture, that were the subject of a grant and other form of

assistance under the Child Nutrition Act, to personal use and gain, knowing such

fund.s, assets, and property had been embezzled,,   wiIlfully misapplied. and obtained by

fraud;

         In violation of Title 42,United States Code, Section 1760(9).




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                                  COUNT THIRTEEN

         The SPECIAL JANUARY 2020 GRAND JURY further charges:

         On or about August 2, 20L8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                EHAB KHRAIWISH and
                                 MARISOL ZAYAI,A,

d.efend.ants herein, received, concealed, and retained funds, assets, and property of

the value of $100 or more, in the form of WIC checks, from the United States

Department of Agriculture, that were the subject of a grant and other form of

assistance under the Child Nutrition Act, to personal use and gain, knowing such

funds, assets, and property had been embezzled, willfully misapplied and obtained by

fraud;

         In violation of Title 42,United States Code, Section 1760(S).




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         The SPECIAL JANUARY 2020 GRAND JURY further charges:

         On or about August 2, 20t8, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                           WALEED KHRAWISH, aka "Wa1ly,"
                              and JEHAD KHRAWISH,

defendants herein, received, concealed, and retained funds, assets, and property of

the value of $100 or more, in the form of WIC checks, from the United States

Department of Agriculture, that were the subject of a grant and other form of

assistance under the Child Nutrition Act, to personal use and gain, knowing such

funds, assets, and property had been embezzled, willfully misapplied and obtained by

fraud;

         In violation of Title 42, United States Code, Section 1760(g).




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                                    COUNT FIFTEEN

       The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    At times material to this Indictment:

             a.     Defendant IIASSAN ABDELIATIF was the president and sole

owner of Harding Grocery, Inc., located   in   Chicago, Illinois, which was a company

that operated as a grocery store.

             b.     Harding Grocery, Inc. was a Subchapter C Corporation and

therefore was required to fi.le an annual United States Corporate Income Tax Return,

Form 1L20, with schedules and attachments, with the Internal Revenue Service

accurately reporting its gross receipts and any deductions and cred.its allowed by law.

As president and owner, defendant IIASSAN ABDELI"ATIF was required by law to

make and fiIe such return on behalf of Harding Grocery, fnc.

      2.     On or about March 15,2016, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                          HASSAN ABDELLATIF, aka "Eric,"

defendant herein, being the president and owner of Harding Grocery, Inc., was

required by law, following the close of calendar year 20L5 and on or before March 15,

2016, to make and fi.Ie an income tax return (Form 1120 and accompanying schedules)

for Harding Grocery, Inc. Knowing the foregoing, defendant did willfully fail, on or

about March 15, 20L6, in the Northern District of Illinois, and elsewhere, to make

said income tax return;

      In violation of Title 26, United States Code, Section 7203.


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                                    COUNT SD(TEEN

          The SPECIAL JANUARY 2020 GRAND JURY further charges:

          1.    Paragraphs 1(a)-1@) of Count Fifteen are incorporated here.

          2.    On or about   April L8,20L7, in the Northern District   of Illinois, Eastern

Division, and elsewhere,

                           HASSAN ABDELLATIF, aka "Eric,"

defendant herein, being the president and owner of Harding Grocery, Inc., was

required by law, following the close of calendar year 20LG and on or before April 18,

2017 , to   make and frle an income tax return (Form 1120 and accompanying schedules)

for Harding Grocery, fnc., accurately reporting its gross receipts and. any ded.uctions

and credits. Knowing the foregoing, defendant did willfully fail, on or about     April   18,

2017,   in the Northern District of Illinois, and elsewhere, to make said income tax
return;

        In violation of Title 26, United States Code, Section 7203.




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                            FORFEITURE ALLEGATION

       The SPECIAL JANUARY 2020 GRAND JURY further alleges:

       1.      The allegations of Counts One through Ten of this Indictment are

incorporated. here for the purpose of alleging forfeiture to the United States pursuant

to Title 18, United States Code, Section 981(a)(1XC), and Title 28, United States

Code, Section 246L(c).

       2.      Upon conviction of an offense in violation of Title 18, United States Code,

Section 1343, as set forth in this Indictment, defendants HASSAN ABDELLATIF,

TIAMDAN HAMDAN, EIIAB KHRAIWISH, WALEED KHRAWISH, AI"AA

HAMDAN, ERSELY ARITA-MEJIA, FORTINO HERNANDEZ, JEHAD
KHRA.WISH, and MARISOL ZAYAI,A shatl forfeit to the United States of America

any property which constitutes and. is derived from proceeds traceable to the offense,

as provided   in Title 18, United States Code, Section 981(aX1XC) and Title 28, United

States Code, Section zait@).

      3.      If any of the property described above, as a result of any act or omission

by a defendant: cannot be located upon the exercise of due diligence; has           been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without diffi.culty, the




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United States of America shall be entitled to forfeiture of substitute property,   as

provided in Title 21, United States Code, Section 853(p).



                                              A TRUE BILL:



                                              FOREPERSON


UNITED STATES ATTORNEY




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